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                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF WEST VIRGINIA
                                     Wheeling



MARY ELIZABETH WHITE,

                            Plaintiff,

              v.                                         Civil Action no. 5:19-CV-0264
                                                         Judge Bailey
CMH HOMES, INC., ANDREW
CAMEON, R & J CONTRACTING,
LLC and DOUG BOWSER,

                            Defendants.


                         ORDER COMPELLING ARBITRATION

       Pending before this Court are defendants’ Motion to Compel Arbitration [Doc. 16]

and defendants’ Motion to Stay Discovery Pending Arbitration [Doc. 18]. The motions have

been fully briefed and are ripe for decision. Forthe reasons hereinafter stated, the motions

will be granted.

       The first motion seeks an order compelling the parties to arbitrate this matter

pursuant to the Binding Dispute Resolution Agreement signed by the plaintiff and CMH

Homes, Inc. and Andrew Cameon.

       According to the motion, on or about July 6, 2017, Plaintiff and CMH entered into

a contract for the purchase and sale of a new manufactured home, serial number

CAPO31293TNAB (the “Home”). CMH Manufacturing, Inc. constructed the Home at its

Appalachia plant in Andersonville, Tennessee.

       As part of the contract for the sale of the Home, Plaintiff executed a Binding Dispute


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Resolution Agreement (the “BDRA”). The BDRA, a broadly worded arbitration agreement,

states in pertinent part:

                    BINDING DISPUTE RESOLUTION AGREEMENT

       The Parties (defined below) agree to resolve all disputes pursuant to the

       terms of this Binding Dispute Resolution Agreement (the “Agreement”). The

       Parties are defined as the buyer (whether one or more) who signs below

       (referred to hereinafter as ‘Buyer”) and CMH Homes, Inc., its subsidiary(s)

       (e.g., CMH of KY, Inc.), and their/its agents, assignees, successors in

       interest, and employees (collectively referred to as “Seller”). Buyer and

       Seller agree that this Agreement also applies to and governs the rights of

       intended beneficiaries of this Agreement, who include the following additional

       Parties: (I) manufacturers of the Home (defined below); (H) contractors,

       including, without limitation, contractors involved in delivery and setup of

       Buyer’s Home; (iH) title companies and closing attorneys involved in the

       transaction made in connection with Buyer’s Home purchase; (iv) all who

       sign or benefit from the Contract (defined below); (v) anyone claiming an

       interest in the Home, (vi) property owners receiving a benefit from the

       Contract, the Home, or use of the Home, and (vU) any occupants of the

       Home (referred to hereafter collectively as “Beneficiaries”) (Buyer, Seller and

       Beneficiaries may be referred to herein as “Party” or “Parties”).

       A.     Scone of the Agreement: This Agreement applies to all pre-existing,

       present, orfuture disputes, claims, controversies, grievances, and causes of

       action against Seller, including but not limited to, common law claims,

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     contract and warranty claims, tort claims, statutory claims, administrative law

     claims, and any other matter in question, not otherwise excepted herein,

     arising out of or related to (i) the modular or manufactured home(s)

     purchased, sold, owned, occupied and/or delivered in any transaction with

     Buyer or Beneficiaries (the “Home”), (U) the documents related to the

     purchase and sale of the Home (including, but not limited to, the Retailer

     Closing Agreement, any Purchase or Sales Agreement, buyer’s order,

     supplemental invoice, and other instruments and agreements whereby Seller

     purports to convey or receive any goods or services to or from Buyer or

     Beneficiaries (collectively, the “Contract”)), (Hi) any products, goods, services,

     insurance, supplemental warranty, service contract, and real property

     (including improvements to the real property) sold under or referred to in the

     Contract, (iv) any events leading up to the Contract, (v) the collection and

     servicing of the Contract, (vi) the design and construction of the Home, and

     (vU) the interpretation, scope, validity, and enforceability of the Contract

     (collectively hereinafter referred to as the “Claim” or “Claims”)   .




                   *        *      *




     C.     Agreementto Mediate: All Claims that cannot be settled through direct

    discussions and negotiation shall be submitted first to mediation with a

     mutually agreeable mediator (“Mediation”)          The requirement of formally

    filing a Claim with a tribunal, to satisfy an applicable statute of limitations,

    shall be tolled during the mediation process, with said tolling period to begin

    on the date that any Party notifies the other(s) in writing of its intent to

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     mediate (either through a mutually agreeable mediator or the AAA).         .   In

     the event the Parties are not successful in resolving their dispute in

     mediation, then the Parties agree to submit their Claims to binding

     arbitration.   Mediation of Claims is a mandatory condition precedent to

     arbitration or a court proceeding. An agreement to resolve the Claims in

     mediation shall be enforceable in any court having jurisdiction thereof.

     D.       Agreement to Arbitrate: The Parties agree to mandatory, binding

     arbitration (Arbitration) of all Claims that are not resolved in Mediation.

     Arbitration is a process in which a neutral arbitrator decides a dispute instead

     of a judge orjury. Each side has an opportunity to present evidence to the

     Arbitrator, both in writing and through witnesses.     Arbitration proceedings

     are less formal than court trials. Other rights that the Parties have in court

     may not be available in Arbitration. The information that can be obtained in

     discovery from each other or from third persons in Arbitration is generally

     more limited than in a lawsuit. An arbitrator will decide the case by issuing

     a written decision called an award.1

     E.       Conducting Arbitration: Any Party to this Agreement may commence

     arbitration at any time following Mediation, subject to the applicable statute

     of limitations and section ‘C.’ of this Agreement. The Arbitration shall be

     governed by and conducted under: (a) the Federal Arbitration Act, 9 U.S.C.

     § 1, et seq., and to the extent not otherwise preempted by the FAA, by
    applicable state laws, including common law; (b) this Agreement; and (c) the

     Rules.    The Parties acknowledge and agree that the Home contains

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       component parts limitation manufactured outside of the state where the

       Home is sold and delivered; the manufacture, transportation, and sale and

       use thereof has been and will continue to be regulated by the laws of the

       United States of America and involve and affect interstate commerce.
              *      *      *




       R.     NOTICE:     BUYER       UNDERSTANDS       THAT     THIS    DISPUTE

       RESOLUTION AGREEMENT IS AN IMPORTANTAGREEMENTAND THAT

       THE TERMS OF THIS AGREEMENT AFFECT BUYER’S LEGAL RIGHTS.

       BY SIGNING THIS DISPUTE RESOLUTION AGREEMENT, BUYER

       ACKNOWLEDGES THAT BUYER HAS READ, UNDERSTANDS AND

       AGREES TO BE BOUND BY THIS AGREEMENT. BUYER AND SELLER

       FURTHER       INTEND     TO    DIRECTLY    BENEFIT      AND      BIND   ALL

       BENEFICIARIES TO THIS AGREEMENT.                 IF BUYER DOES NOT

       UNDERSTAND ANY OF THE TERMS OR PROVISIONS OF THIS

       AGREEMENT, INCLUDING ADVANTAGES OR DISADVANTAGES OF

       ARBITRATION, THEN BUYER SHOULD SEEK INDEPENDENT LEGAL

      ADVICE BEFORE SIGNING THIS AGREEMENT. THE PARTIES HEREBY

      WAIVE THEIR RIGHTS, IF ANY, TO TRIAL BY JUDGE OR JURY, WHERE

      APPLICABLE. THE PARTIES HAVE ENTERED INTO THIS AGREEMENT

       KNOWINGLY, WILLINGLY AND VOLUNTARILY.

[Doe. 16-1] (emphasis in original).

      Section 2 of the Federal Arbitration Act (“FAA”) provides that a written arbitration


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agreement “shall be valid, irrevocable, and enforceable, save upon such grounds as exist

at law or in equity for the revocation of any contract.” 9 U.S.C.              § 2. Section 2 is the
“primary substantive provision” of the FAA, while       § 3 and 4 “provide[] two parallel devices
for enforcing an arbitration agreement: a stay of litigation in any case raising a dispute

referable to arbitration, 9 u.S.C.     § 3, and an affirmative orderto engage in arbitration, § 4.”
Moses H. Cone Memi Hosp. v. Mercury Constr. Corp., 460                  u.s.   1, 22 (1983).

        Generally, “[tjhe FAA reflects ‘a liberal federal policy favoring arbitration

agreements.” Adkins v. Labor Ready, inc., 303 F.3d 496, 500 (4th Cir. 2002) (quoting

Moses H. Cone, 460 U.S. at 24). Indeed, the FAA serves as “a response to hostility of

American courts to the enforcement of arbitration agreements, a judicial disposition

inherited from then-longstanding English practice.” Circuit City Stores, Inc. v. Adams,

532 U.S. 105, 111(2001). Moreover, a court is required to “resolve ‘any doubts concerning

the scope of arbitrable issues   ...   in favor of arbitration.” Hill v. PeopieSoft USA, Inc., 412

F.3d 540, 543 (4th Cir. 2005) (quoting Moses H. Cone, 460 U.s. at 24—25); see also

Peoples Sec. Life Ins. Co. v. Monumental Life Ins. Co., 867 F.2d 809, 812 (4th Cir.

1989) (“Indeed, the heavy presumption of arbitrability requires that when the scope of the

arbitration clause is open to question, a court must decide the question in favor of

arbitration.”).

       A party can compel arbitration by establishing: (1) the existence of a dispute

between the parties; (2) a written agreement that includes an arbitration provision which

purports to cover the dispute; (3)the relationship of the transaction, which is evidenced by

the agreement, to interstate or foreign commerce; and (4) the failure, neglect, or refusal



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of the defendant to arbitrate the dispute. See Adkins, 303 F.3d at 500—01.

       While the district courts are to appiy the federal substantive law of arbitrability,

which governs all arbitration agreements encompassed by the FAA,” the courts must also

apply the ordinary state law principles regarding the formation of contracts, such as the

“validity, revocability, or enforceability of contracts generally.” Murlithi v. Shuttle Exp.,

Inc., 712 F.3d 173, 179(4th Cir. 2013) (citations omitted); see also 9 U.S.C.   § 2 (arbitration
agreements may be unenforceable “upon such grounds as exist at law or in equity of the

revocation of any contract.”); AT&T Mobility LLC v. Concepcion, 563             u.s.   333, 339

(2011). For example, “generally applicable contract defenses, such as fraud, duress, or

unconscionability, may be applied to invalidate arbitration agreements without contravening

§ 2” of the FAA. See   Doctor’s Assocs., Inc. v. Casarotto, 517 U.S. 681, 687 (1996)

(citations omitted).

       This Court finds that all four of the Adkins tests have been met: (1) There is a

dispute between the parties; (2) a written agreement that includes an arbitration provision

which purports to cover the dispute; (3) a relationship of the transaction to interstate

commerce; and (4) the refusal of the plaintiff to arbitrate the dispute.

       The plaintiff does not contend that the dispute is not covered by the mediation and

arbitration agreement. Rather, the plaintiff contends that the defendants breached the

BDRA by “repeatedly failing to engage in mediation.” According to the plaintiff, she

requested BDRA remedies in a January 2, 2019, letter to CMH. She states that she sent

requests for mediation to CMH on March 4 and March 18, 2019, without response. On

April 12, 2019, a request for mediation was sent to the MA. Plaintiff states that thereafter



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 the parties agreed to a mediator on May 1,2019, and proposed dates in May to conduct

the mediation were sent to CMH’s counsel on May 2, 2019. A follow-up inquiry about the

 proposed mediation dates was sent on May 7, 2019. The defendant did not respond. On

June 4, 2019, defendant’s counsel said he would schedule the mediation, and provided

dates in July. The plaintiff immediately agreed to dates in July, but the defendant never

actually scheduled the mediation. At that point, the Plaintiff filed her Complaint on August

23, 2019.

       The defendants have provided documents adding to the timeline. According to

defendants, consistent with the BDRA, Plaintiff filed a Demand for Mediation with the AAA

on April 15, 2019. On April 18, 2019, AAA provided the parties with names of several

mediators and their resumes. After reviewing the list of mediators, counsel for the parties

mutually agreed to mediate with local attorney, Robert McCoid, who was recommended

by the plaintiffs counsel. On May 10,2019, Plaintiff’s counsel notified AAA that the parties

agreed to pursue mediation with the local mediator.

       The local mediator suggested possible dates in May 2019 for the mediation to take

place in Wheeling, West Virginia; however, CMI-] and their counsel had conflicts with the

dates provided. In June 2019, CMH requested additional dates from the local mediator

and requested an inspection of the home foundation and basement prior to the mediation.

Defendants believed that an inspection of plaintiff’s home was necessary to ensure that

CMH understood the alleged issues with the home foundation and basement and could

engage in meaningful negotiations at the mediation. Plaintiffs counsel was in agreement

that CMH could inspect the home foundation prior to mediation.

       On June 7, 2019, CMH communicated with plaintiff’s counsel regarding potential

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dates for the inspection and after conferring with the parties, attorneys, and CMH’s expert,

the first available date was July17, 2019. On July11 and 12, 2019, plaintiffs counsel and

CMH’s counsel both confirmed that the inspection would take place on July 17,2019. The

inspection took place as scheduled on July 17, 2019 and was attended by plaintiffs

counsel, CMH’s counsel, CMH’s Regional Vice President, and CMH’s expert.

       After the inspection, CMH’s expert began preparing an engineering report, which

CMH was to receive priorto mediation. Anticipating the receipt of the report, CMH reached

out to plaintiffs counsel on August 16, 2019, requesting availability for the mediation.

After no response, a follow-up email was sent to plaintiff’s counsel on August 20, 2019,

again asking for dates for mediation and specifically requesting availability on September

6and 11,2019.

       According to defendants, at no time prior to August 20, 2019, did plaintiff’s counsel

complain to CMH or CMH’s counsel orstaff about any delay in scheduling of the mediation.

Additionally, at no time prior to August 20, 2019, did plaintiff’s counsel file any complaint

with the AAA based upon any alleged delay by CMH in mediating. In fact, AAA reached

out to the parties multiple times requesting an update on the status of mediation and after

no response from Plaintiff, AAA closed its file.

       On August 23, 2019, plaintiffs counsel acknowledged the multiple requests seeking

availability to schedule the mediation. However, at that time, despite previously agreeing

to an inspection prior to mediation, she refused to provide dates, stating instead that

Plaintiff has proceeded with filing suit.

       ‘Under section 3 of the FAA, a party loses its right to a stay of court proceedings in

order to arbitrate if it is ‘in default in proceeding with such arbitration.’ 9 U.S.C.   § 3(2006).
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Default in this context resembles waiver, but, due to the strong federal policy favoring

arbitration, courts have limited the circumstances that can result in statutory default.

Maxum Founds., Inc. v. Salus Corp., 779 F.2d 974, 961 (4th dr. 1985).” Forrester v.

Penn Lyon Homes, Inc., 553 F.3d 340, 342-43 (4th Cir. 2009).

       “For example, simply failing to assert arbitration as an affirmative defense does not

constitute default of a right to arbitration. See Am. Recovery Corp. v. Computerized

Thermal Imaging, Inc., 96 F.3d 88, 96 (4th Cir. 1996). Similarly, delay and participation

in litigation will not alone constitute default. See MicroStrategy[ Inc. v. Lauricia], 268

F.3d [244] at 250—52 [(4th Cir. 2001)1. But a party will default its right to arbitration if it ‘so

substantially utiliz[es] the litigation machinery that to subsequently permit arbitration would

prejudice the party opposing the stay.’ Maxum Founds., 779 F.2d at 981. The “heavy

burden” of showing default lies with the party opposing arbitration. Am. Recovery Corp.,

96 F.3d at 95.

       In this case, this Court cannot find that the defendants defaulted their right to

compel mediation and arbitration. While the defendants were non-responsive prior to April

15, 2019, the course of events thereafter appears reasonable and certainly does not

constitute default.

       For the reasons stated above, the defendants’ Motion to Compel Arbitration [Doc.

16] is GRANTED. This Court ORDERS that plaintiff White’s claims be submitted to

mediation with mediator McCoid within the next 60 days. If the mediation is unsuccessful,

then the parties are to forthwith submit the issues to arbitration.          Further, this Court

ORDERS that this action is STAYED pending completion of arbitration, and DIRECTS the


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parties to notify this Court upon completion of arbitration. Defendants’ Motion to Stay

Discovery Pending Arbitration [Doc. 18] is GRANTED.

      It is so ORDERED.

      The Clerk is directed to transmit copies of this Order to counsel of record.

      DATED: January 16, 2020.




                                                                 BAILEY
                                                           TATES DISTRICT




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